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                      EXHIBIT A
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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    02/25/2021
                                                                                                    CT Log Number 539105263
TO:         Leonard Wagner
            Kansas City Southern
            427 West 12th St.
            Kansas City, MO 64105

RE:         Process Served in Louisiana

FOR:        The Kansas City Southern Railway Company (Domestic State: MO)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                  MARCUS COLLINS, Pltf. vs. THE KANSAS CITY SOUTHERN RAILWAY COMPANY and ABC
                                                  INSURANCE COMPANY, Dfts.
DOCUMENT(S) SERVED:                               -
COURT/AGENCY:                                     None Specified
                                                  Case # C704551
NATURE OF ACTION:                                 Personal Injury - Vehicle Collision
ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Baton Rouge, LA
DATE AND HOUR OF SERVICE:                         By Process Server on 02/25/2021 at 09:00
JURISDICTION SERVED :                             Louisiana
APPEARANCE OR ANSWER DUE:                         None Specified
ATTORNEY(S) / SENDER(S):                          None Specified
ACTION ITEMS:                                     CT has retained the current log, Retain Date: 02/25/2021, Expected Purge Date:
                                                  03/02/2021
                                                  Image SOP

                                                  Email Notification, Leonard Wagner lwagner@kcsouthern.com

                                                  Email Notification, Jack Elmore jelmore@kcsouthern.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  3867 Plaza Tower Dr.
                                                  Baton Rouge, LA 70816
                                                  866-331-2303
                                                  CentralTeam1@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
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